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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                §
    In re:                                      §    Chapter 11
                                                §
    STRUDEL HOLDINGS LLC AND                    §    Case No. 23-90757 (CML)
    AVR AH LLC,                                 §
                                                §    (Jointly Administered)
                  Debtors.1                     §
                                                §

             LENDER PARTIES’ MOTION TO DISMISS THE CHAPTER 11 CASES
               PURSUANT TO SECTION 1112(b) OF THE BANKRUPTCY CODE


    If you object to the relief requested, you must respond in writing. Unless otherwise
    directed by the Court, you must file your response electronically at
    https://ecf.txsb.uscourts.gov/ within twenty-one days from the date this motion was filed.
    If you do not have electronic filing privileges, you must file a written objection that is
    actually received by the clerk within twenty-one days from the date this motion was
    filed. Otherwise, the Court may treat the pleading as unopposed and grant the relief
    requested.

    A hearing will be conducted on this matter on September 21, 2023 at 2:30 p.m. in
    Courtroom 401, floor, 515 Rusk, Houston TX 77002. You may participate in the hearing
    either in person or by an audio and video connection.

    Audio communication will be by use of the Court’s dial-in facility. You may access the
    facility at 832-917-1510. Once connected, you will be asked to enter the conference room
    number. Judge Lopez’s conference room number is 590153.

    Video communication will be by use of the GoToMeeting platform. Connect via the free
    GoToMeeting application or click the link on Judge Lopez’s home page. The meeting
    code is “JudgeLopez.” Click the settings icon in the upper right corner and enter your
    name under the personal information setting. Hearing appearances must be made
    electronically in advance of both electronic and in-person hearings. To make your
    appearance, click the “Electronic Appearance” link on Judge Lopez’s home page. Select
    the case name, complete the required fields and click “Submit” to complete your
    appearance.



1
        The Debtors in these cases, along with the last four digits of each Debtor’s federal tax
identification number, are: AVR AH LLC (0148) and Strudel Holdings LLC (5426). The Debtors’
service address is: PO Box 4068, Aspen, CO 81612.
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        Nineteen77 Capital Solutions A LP and Bermudez Mutuari, Ltd. (together, the “Lenders”),

and Wilmington Trust National Association, in its capacity as Administrative Agent (the

“Administrative Agent”, and together with the Lenders, the “Lender Parties”), respectfully submit

this motion pursuant to 11 U.S.C. § 1112(b) to dismiss the instant chapter 11 cases for Strudel

Holdings LLC (“Strudel”) and AVR AH LLC (“AVR,” and together with Strudel, the “Debtors”).

                                  PRELIMINARY STATEMENT

        1.      These chapter 11 cases are paradigmatic bad faith filings that the Court should

dismiss for cause pursuant to Bankruptcy Code section 1112(b). The non-operating Debtors,

which each have only one material asset, do not seek to reorganize but rather to obtain a “do over”

of a New York state court action that they filed to block the Lender Parties from foreclosing on

their assets and to evade their guarantees to the Lender Parties of the repayment of more than

$99 million of outstanding debt secured in part by those assets. Chapter 11 exists to provide good

faith debtors with a fresh start in business, not in litigation. It is indeed hard to envision a case that

more closely embodies the elements of a classic bad faith filing set forth in Little Creek

Development Co. v. Commonwealth Mortgage Corp. (In re Little Creek Development Co.),

779 F.2d 1068 (5th Cir. 1986), and its progeny.

        2.      The Debtors first sued the Lender Parties in New York five months ago because the

relevant contracts provide the New York courts with exclusive jurisdiction over the Debtors’

claims, which arise under New York law. The Debtors filed two separate motions for emergency

injunctive relief, but the New York state court twice declined to enjoin the Lender Parties from

foreclosing on the Debtors’ assets. In so doing, the New York court found that the Debtors do not

have a likelihood of success on their claims under New York law. Facing the Lender Parties’

imminent foreclosures and a motion to dismiss their New York action that would put to bed their

efforts to escape their obligations, the Debtors decided to switch forums. They filed their chapter
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11 petitions—without the requisite authorization from the Administrative Agent in the case of

AVR—and immediately filed an adversary complaint in this Court duplicating their New York

state court complaint.

       3.      The Debtors would not be in this Court but for their dispute with the Lender Parties

over their contractual repayment obligations. They are using the automatic stay as a substitute for

the preliminary injunction that they could not obtain from the New York court and are attempting

to restart their litigation away from that state court, which already found that their claims are

unlikely to succeed, in the hopes that this Court will view their claims more favorably. Indeed,

their adversary complaint admits that the Debtors filed these chapter 11 cases to “forestall” the

Lender Parties and “take advantage of the breathing spell afforded by the automatic stay.”2

This is not just forum shopping; it is also an abuse of the bankruptcy system.

       4.      Perpetuating these cases, which are, at bottom, a two-party dispute over a secured

lending transaction governed by New York law, would not serve any legitimate chapter 11

purpose. The Debtors are non-operating entities with only one material non-insider liability—

their guarantee of loan obligations of their sole member, Charif Souki, who has defaulted under

loan agreements with the Lender Parties. This entire bankruptcy proceeding turns on the Debtors’

claims in their adversary proceeding, which had been pending in New York and which should be

adjudicated by the New York state court. If the Debtors’ claims fail, which the New York court

held is likely, then there will be no equity remaining in their only material assets, which are fully

encumbered by the Lender Parties’ liens and security interests. Conversely, if the Debtors’ claims

were to succeed, the Debtors would have no need for chapter 11 relief, because their assets far

surpass their de minimis obligations to other non-insider creditors. If the Debtors believe the



2
       Objection to Claims and Complaint, Adv. No. 23-09003, ECF No. 1, ¶ 51.


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claims asserted in their adversary proceeding have merit, then state court, not bankruptcy court, is

the proper forum to resolve them, as the Debtors themselves recognized by prosecuting them in

New York until it became clear that they were unlikely to succeed there.

       5.      The New York court is not only well suited to the task of adjudicating the Debtors’

New York state law claims, but also is the exclusive forum for adjudicating such claims under the

parties’ contracts. In the five-plus months that the state court action was active before the petition

date, Justice Andrea Masley already found that under controlling New York law, those claims were

unlikely to succeed on the merits. As of the petition date, the Lender Parties already moved to

dismiss the Debtors’ claims, which motion was stayed but is subject to renewal, and the Lender

Parties have since filed a new plenary action against the non-debtor co-plaintiffs named in the

Debtors’ adversary complaint, Souki and the Debtors’ co-guarantors, in a separate, unstayed action

in New York state court.3

       6.      The Court should dismiss both these bad faith chapter 11 cases and send this

two-party dispute back to New York state court. And the Court should dismiss AVR’s case for

the additional reason that the Administrative Agent did not authorize AVR’s ultra vires petition.

                    JURISDICTION, VENUE, AND BASIS FOR RELIEF

       7.      The Court has jurisdiction over this motion pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A).

       8.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       9.      The basis for the relief requested herein is 11 U.S.C. § 1112(b).




3
       See Declaration of James W. Burke (“Burke Decl.”) Ex. 1 (notice of motion filed in
Nineteen77 Capital Solutions A LP v. Souki, Index No. 654043/2023 (N.Y. Sup. Ct. N.Y. Cnty.).


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                                        BACKGROUND

       A.      Each of the Debtors Is a Non-Operating Entity with One Material Asset and
               Both Debtors Are Wholly Owned by Charif Souki.

       10.     The Debtors are both corporate appendages of Charif Souki, their sole member.

See ECF No. 55 (“Strudel’s SoFA”) at No. 28; ECF No. 57 (“AVR’s SoFA”) at No. 28. Souki is

a sophisticated energy industry executive and high net worth individual who is not a debtor in

these or any other active bankruptcy cases.

       11.     Strudel is a holding company that owns a 50% equity interest in Ajax Holdings,

LLC (“Ajax Holdings”), a real estate holding company. See ECF No. 54 (“Strudel’s Schedules”),

at Schedule A/B No. 15; Strudel’s SoFA at No. 25.1. Strudel has no revenue generating operations.

Strudel’s SOFA at No. 1. Apart from the Ajax Holdings, the only other assets listed on Strudel’s

Schedules are approximately $1,800 of cash and an approximately $250,000 net operating loss.

Strudel’s Schedules at Schedule A/B Nos. 3 & 72.

       12.     Strudel’s Schedules do not list any creditors other than the Lender Parties. Id. at

Schedules D & E/F.

       13.     AVR is a single asset real estate holding company. See Case No. 23-90758, ECF

No. 1, at No. 7 (AVR petition checked box indicating that its business is “Single Asset Real Estate”

as defined in 11 U.S.C. § 101(51)(B)). Its sole material asset is an 800-acre luxury ranch outside

Aspen, Colorado (the “Ranch”). See ECF No. 56 (“AVR’s Schedules”) at Schedule A/B No. 55.4




4
       The various other assets listed on AVR’s Schedules are comparatively de minimis. See id.
at Schedule A/B No. 1 (valuing non-real property assets at $400,000).


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AVR averages approximately $1 million of annual gross revenue from its supposed operations.

See AVR’s SOFA at No. 1.5

       14.     AVR’s Schedules show that the Lender Parties are the only AVR creditors with a

lien on the Ranch, except for an approximately $76,000 tax debt owed to Pitkin County, Colorado.

See id. at Schedule D. Aside from AVR’s guarantee obligations to the Lender Parties and

intercompany loans to insiders (Ajax Holdings and “TKCL Loan”), AVR’s Schedules list few

claims, totaling approximately $1 million, most of which are $3,000 or less. See id. at Schedule

D & E/F.6

       B.      The Debtors Guaranteed Souki’s Loans and Granted the Lender Parties
               Security Interests in Their Only Material Assets, and Souki Defaulted.

       15.     These chapter 11 cases are the latest in a series of efforts by Souki and the Debtors,

acting under his control, to avoid the consequences of Souki’s default on his loan obligations.

       16.     Under certain agreements executed in 2017 and 2018, the Lenders loaned to Souki

$138 million. See Burke Decl. Exs. 2 & 3 (the “Loan Agreements”).

       17.     The Debtors guaranteed Souki’s loan obligations, agreeing “that upon the failure of

[Souki] to pay any of the Obligations when and as the same shall become due, . . . [the Debtors]

will upon demand pay, or cause to be paid, in Cash, to the Administrative Agent for the ratable

benefit of [the Lenders], an amount equal to the sum of the unpaid principal amount of all

Guaranteed Obligations[.]” Loan Agreements § 7.2; id. § 7.1.


5
        According to the Debtors, after Souki defaulted on his obligations under the Loan
Agreements and failed to market and sell the Ranch, Souki’s family moved out of the Ranch houses
and attempted to rent the properties, apparently with very little success. Objection to Claims and
Complaint, Adv. No. 23-09003, ECF No. 1, ¶ 30.
6
        There is substantial doubt that the intercompany claims listed on AVR’s Schedules are, in
fact, claims against AVR, as opposed to AVR’s affiliates. The Lender Parties have sought
discovery pursuant to Bankruptcy Rule 2004 in connection with these claims and reserve all rights
to challenge the validity of these claims.


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        18.      Souki, Strudel, and other pledgors granted the Administrative Agent (for the benefit

of the Lenders) security interests in various assets, including all “right, title and interest in and to”:

             Souki’s luxury yacht, the “Tango”;

             25 million shares of common stock that Souki owned in Tellurian Inc. (“Tellurian”),

              a publicly traded natural gas company he co-founded (the “Tellurian Shares”);

             Souki’s 100% membership interest in AVR; and

             Strudel’s 50% equity interest in Ajax Holdings (“Strudel’s Ajax Interest”).

See Burke Decl. Exs. 4 & 5 (“Pledge Agreements”) § 2.

        19.      AVR, in turn, granted the Administrative Agent a deed of trust for the Ranch.

See Burke Decl. Exs. 6 & 7 (the “Deeds of Trust”).

        20.      After multiple amendments to the Loan Agreements gave Souki additional time to

repay his debts, the loans matured on May 6, 2020. Burke Decl. Ex. 8 (Amendment No. 6 to 2017

Loan Agreement); id. Ex. 9 (Amendment No. 4 to 2018 Loan Agreement). Souki failed to satisfy

his obligations (and still has not done so today). Souki and the Debtors have acknowledged several

events of default under the Loan Agreements, and that “all outstanding Indebtedness is payable in

accordance with the terms of the Loan [Agreements].” Burke Decl. Exs. 10 & 11 § 5.1 & sched. I.

        21.      The loan and security agreements collectively provide that if there is an event of

default, the Administrative Agent may: declare the loans to Souki immediately due and payable

(Loan Agreements § 8); “at any time” “[l]iquidate, withdraw or sell all or any part of” the Tellurian

Shares, the Tango, and/or Strudel’s Ajax Interest and apply the proceeds to the amounts due under

the Loan Agreements (Pledge Agreements § 7(f)) (emphasis added); and foreclose on the Ranch

(Deeds of Trust Art. 4).




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        22.    As relevant to AVR, the Pledge Agreements further provide that upon an event of

default, “all rights of each Pledgor [to exercise voting rights and powers and to receive any

distributions arising from or relating to the Collateral] shall cease, and all voting rights and powers

and rights to distributions included in the Collateral . . . shall thereupon become vested in the

Administrative Agent, and the Administrative Agent shall thereafter have the sole and exclusive

right and authority to exercise such voting rights and powers.” Pledge Agreements § 6(b).

        C.     After a Lengthy Forbearance, the Lender Parties Began Foreclosing.

        23.    As the maturity date approached, the parties entered into two bridge agreements

pursuant to which the Lender Parties agreed to forbear through an outside date to allow more time

to negotiate a good-faith resolution. Burke Decl. Exs. 10 & 11 (“Bridge Agreements”). But the

Bridge Agreements made clear that once the forbearance period expired, “the Administrative

Agent may . . . foreclose upon and/or dispose of any of the Collateral” “at the time and in such

manner that the Administrative Agent determines in its sole and absolute discretion; provided that

the Administrative Agent and the Lenders will use their commercially reasonable efforts to avoid

any material disruption of Tellurian’s stock price during such process.” Bridge Agreements

§ 4.3(a).

        24.    The forbearance period under the Bridge Agreements expired on March 30, 2021.

See Bridge Agreements § 3.1.

        25.    Rather than foreclose immediately, the Lender Parties spent another two years

negotiating in good faith with Souki.7 In late 2022 and early 2023, however, the Lender Parties


7
        Although they had no obligation to do so under the Loan Agreements or the Bridge
Agreements, on May 26, 2022, more than two years after Souki’s loans had matured, the Lender
Parties gave formal notice to Souki of the expiration of the forbearance period under the Bridge
Agreements and of his continuing default. Burke Decl. Ex. 12. This notice satisfied a statutory
requirement under Colorado law to initiate foreclosure proceedings for the Ranch. See Colo. Rev.



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began to exercise their remedies. Those efforts were continuing when the Debtors filed their

chapter 11 petitions.

       26.     Completed Prepetition: The Tellurian Shares and The Tango. On February 6,

2023, the Lender Parties foreclosed on the Tellurian Shares. Starting on February 8, 2023 and

continuing through April 5, 2023, the Lender Parties sold the shares in various increments

(generally 5% or less of total volume per day) at the prevailing prices on the New York Stock

Exchange.

       27.     The Lender Parties also initiated foreclosure actions related to the Tango. The sale

of the Tango closed in May 2023.

       28.     The actual proceeds received from the sales of the Tellurian Shares and the Tango

were insufficient to satisfy Souki’s outstanding obligations under the Loan Agreements, leaving a

deficiency currently in an amount not less than approximately $99 million. Burke Decl. Ex. 13.

       29.     Interrupted by These Chapter 11 Cases: The Ranch and Strudel’s Ajax Interest.

The Lender Parties also initiated foreclosure proceedings for the Ranch before the petition date,

but those proceedings were stayed by AVR’s bankruptcy filing.8

       30.     Consistent with applicable Colorado law, the Administrative Agent had filed in

Colorado state court a verified motion for an order authorizing sale of the Ranch. Burke Decl. Ex.

14. The foreclosure sale had been scheduled to take place on August 9, 2023.




Stat. § 38-38-102.5. Even after the May 26, 2022 notices, the Lender Parties continued to engage
in good faith negotiations with the Souki parties.
8
        The Lender Parties initially attempted to work with Souki on a cooperative basis and
accommodate his attempts to sell various parcels of the Ranch. Thus, in late 2021, the Lender
Parties released their liens on three properties, which Souki sold for $46.5 million, $25 million of
which was used to repay a first mortgage. The Debtors did not sell any additional parcels in 2022
and have not identified a single reasonable third-party offer where the Lender Parties withheld
permission to release their lien.


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       31.     In response to the motion, Souki and AVR filed an opposition which, among other

things, argued that the Colorado court “should deny the [] motion because it asks the Court to

decide a question—whether there is an ongoing default that would justify foreclosure—that the

parties expressly agreed would be decided by a New York court under New York law.” Burke

Decl. Ex. 15 ¶ 3.

       32.     A hearing on the Administrative Agent’s motion was scheduled for July 28, 2023.

Burke Decl. Ex. 16. But on July 27, 2023, the day before Souki would have been required to

present his arguments to the Colorado court, Souki caused the Debtors to file chapter 11 petitions.

Both the Colorado court hearing and the foreclosure sale were stayed by AVR’s bankruptcy filing.

       33.     The Lender Parties had also scheduled a foreclosure auction under the Uniform

Commercial Code for the equity in Ajax Holdings, including both Strudel’s Ajax Interest and the

other 50% of Ajax Holdings’ equity, which is held by a trust benefitting Souki’s family, the Souki

Family 2016 Trust. Burke Decl. Ex. 17. That foreclosure sale, which was scheduled for August

30, 2023, was also stayed with respect to Strudel’s Ajax Interest by Strudel’s bankruptcy filing.

       D.      The State Court Rejected the Debtors’ Preliminary Injunction Requests.

       34.     More than four months before the petition date, on March 6, 2023, the Debtors,

Souki, and the Trustees of the Souki Family 2016 Trust (collectively, the “Plaintiffs”) filed suit in

the Commercial Division of the New York Supreme Court (the “New York Action”). The

complaint in that action (as amended) principally alleges that the Lender Parties breached their

obligation to conduct the sale of the Tellurian Shares and the Tango in a commercially reasonable

manner and to take commercially reasonable efforts not to materially disrupt the share price of

Tellurian. Burke Decl. Ex. 18. Among other remedies, the Plaintiffs argued that the entirety of

the remaining debt owed to the Lender Parties should be deemed extinguished. Id. ¶¶ 81-82.




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       35.     Before the Debtors turned to this Court for chapter 11 relief, the state court already

had preliminarily rejected the Plaintiffs’ claims. On April 3, 2023, the Plaintiffs moved for an

emergency injunction, asking the New York court to stop sales of the Ranch and Strudel’s Ajax

Interest. Their principal argument, and the basis for fraud claims against the Lender Parties, was

that the Lender Parties agreed not to sell the Tellurian Shares until certain yet-to-occur milestones

were met. See Burke Decl. Ex. 19 at 6-7. At the same time, they also argued that the Lender

Parties should have sold the shares earlier, when the shares were trading at a brief three-year high,

rather than waiting until February 2023. Id.

       36.     At a contested hearing on May 1, 2023, Justice Masley denied the Plaintiffs’

motion, stating she was “not satisfied that the plaintiffs have established a likelihood of success on

the merits.” Burke Decl. Ex. 20 at 52:11-13. Addressing the Plaintiffs’ claims related to the

Tellurian Shares specifically, Justice Masley observed, “I just don’t think that I can find that selling

shares on the New York Stock Exchange over a two-month period, that it’s commercially

unreasonable.” Id. at 53:9-11. Recognizing that the Plaintiffs were arguing both that the Lender

Parties sold the Tellurian Shares too late and that they sold them too soon, Justice Masley held that

the “too late” argument “doesn’t work” because “you can not say that they should have sold sooner

when your argument is that they couldn’t sell sooner because they made an agreement to wait for

milestones,” and that the “too soon” argument “also doesn’t work” because “you don’t want to

punish lenders for working or trying to work with parties.” Id. at 54:8-55:3. Summarizing the

Plaintiffs’ argument to be that “lenders can not just do whatever they want and sell whenever they

want and sell as much as they want,” Justice Masley held “that’s not the record that I have here.”

Id. at 53:23-54:1.




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       37.     After the Lender Parties moved to dismiss the complaint, the Plaintiffs filed a

second motion for a preliminary injunction and sought leave to amend their complaint for a second

time. Justice Masley summarily denied their second motion for a preliminary injunction without

a hearing. Burke Decl. Ex. 21. The Plaintiffs subsequently filed their second amended complaint,

dropping their fraud claims and advancing an entirely new theory for when the Lender Parties

supposedly should have sold the Tellurian Shares.

       38.     On July 25, 2023, the Lender Parties moved to dismiss the second amended

complaint in the New York Action (which is virtually identical to the Debtors’ adversary complaint

in this Court). Burke Decl. Ex. 22.

       E.      Having Failed to Obtain an Injunction and Facing a Motion to Dismiss, the
               Debtors Triggered the Automatic Stay and Refiled Their Litigation.

       39.     The state court’s repeated denial of any preliminary injunction left the Lender

Parties free to proceed with their scheduled foreclosures for the Ranch and Strudel’s Ajax Interest.

       40.     On July 27, 2023, just two days after the Lender Parties again moved to dismiss the

operative complaint in the New York Action, the Debtors filed their chapter 11 petitions. That

same day, the Debtors, joined by the other Plaintiffs from the New York Action, filed their

adversary complaint in this Court, which is a copycat of the second amended complaint in the New

York Action. Compare Burke Decl. Ex. 18 with Objection to Claims and Complaint, Adv. No.

23-09003, ECF No. 1 (“Adversary Complaint”). In their Adversary Complaint, the Debtors freely

admit that they filed these chapter 11 cases to “forestall” the Lender Parties and “take advantage

of the breathing spell afforded by the automatic stay.” Adversary Complaint ¶ 51.




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                                            ARGUMENT

I.     THESE CHAPTER 11 CASES ARE CLASSIC BAD FAITH FILINGS THAT
       SHOULD BE DISMISSED UNDER LITTLE CREEK

       41.       Bankruptcy Code section 1112(b) authorizes the Court to dismiss a chapter 11

petition “for cause.” 11 U.S.C. § 1112(b). Although “cause” is a flexible concept, the Fifth Circuit

has repeatedly held that “cause” for dismissal exists where a debtor filed its petition in bad faith.

In re Humble Place Joint Venture, 936 F.2d 814, 816-17 (5th Cir. 1991) (“The Bankruptcy Code

provision that a Chapter 11 case may be dismissed ‘for cause’ has been interpreted to include the

lack of good faith in its filing.”); Little Creek Dev. Co. v. Commonwealth Mortg. Corp. (In re Little

Creek Dev. Co.), 779 F.2d 1068, 1072 (5th Cir. 1986) (recognizing that “[n]umerous cases have

found a lack of good faith to constitute ‘cause’ . . . for dismissing the case”).

       42.       In Little Creek, the Fifth Circuit described the typical case dismissed on bad faith

grounds as one in which “[s]everal, but not all, of the following conditions usually exist”:

                “The debtor has one asset” and “secured creditors’ liens encumber [that asset]”;

                “The property usually has been posted for foreclosure because of arrearages on the

                 debt and the debtor has been unsuccessful in defending actions against the

                 foreclosure in state court” such that “[b]ankruptcy offers the only possibility of

                 forestalling loss of the property”;

                “[T]here are only a few, if any unsecured creditors whose claims are relatively

                 small”; and

                There are “no employees except for the principals, little or no cash flow, and no

                 available sources of income to sustain a plan of reorganization.”




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779 F.2d at 1072-73.9

       43.     “Resort to the protection of the bankruptcy laws is not proper under these

circumstances because there is no going concern to preserve, there are no employees to protect,

and there is no hope of rehabilitation.” Id. at 1073. Thus, “[n]either the bankruptcy courts nor the

creditors should be subjected to the costs and delays of a bankruptcy proceeding under such

conditions.” Id.

       44.     Here, the Debtors’ chapter 11 cases embody the typical bad faith case described in

Little Creek. Having failed in their attempt to defend against the Lender Parties’ imminent

foreclosures in the New York Action, the Debtors filed their petitions to use the automatic stay as

an alternative to the injunctive relief that Justice Masley denied and to evade Justice Masley’s

decision that the Plaintiffs’ claims are unlikely to succeed. The Bankruptcy Code does not protect

this type of blatant forum shopping in a two-party dispute over a secured lending transaction. And

while that alone establishes the Debtors’ bad faith, these cases run afoul of nearly all the other

Little Creek criteria—the Debtors each have only one material asset and that asset is encumbered

by the Lender Parties’ liens and security interests, there are few unsecured creditors, and the

Debtors have virtually no employees, cash flow, or funding for reorganization. In short, the

Debtors are not entitled to avail themselves of the protections provided by chapter 11.

       A.      The Debtors Filed These Chapter 11 Cases to Obtain a Substitute Stay of the
               Lender Parties’ Imminent Foreclosures and to Shop for a New Forum in a
               Two-Party Dispute.

       45.     The timing and circumstances of the Debtors’ chapter 11 filings mirror those of the

bad faith filings described in Little Creek. Apart from their obligations to the Lender Parties, the

Debtors had no reason to seek chapter 11 protection. The Debtors’ petitions were not prompted


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       The Fifth Circuit also observed that “[t]here are sometimes allegations of wrongdoing by
the debtor or its principals.” Id. at 1073.


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by any operational issue or liquidity event. Rather, the sole impetus for the Debtors’ bankruptcy

filings—filed on the eve of the foreclosure hearing for the Ranch and one month before the

scheduled auction for Strudel’s Ajax Interest—was that the Debtors’ material assets “ha[ve] been

posted for foreclosure because of arrearages on the debt” that Souki owes to the Lender Parties

under the Loan Agreements, which the Debtors guaranteed. See Little Creek, 779 F.2d at 1073.

       46.     The Debtors were “unsuccessful in defending actions against the foreclosure in

state court,” see Little Creek, 779 F.2d at 1073, with Justice Masley twice denying their motions

for preliminary injunction and holding that the Debtors are unlikely to succeed on their claims.

And they had doubled down on their New York Action by asking the Colorado court considering

the Administrative Agent’s motion for foreclosure on the Ranch to stay any foreclosure pending

resolution of their claims in the New York Action.

       47.     It was only after they twice failed to stop the foreclosures in New York, with the

hearing on the Administrative Agent’s Colorado motion imminent, that the Debtors took any steps

toward seeking chapter 11 relief. In other words, the Debtors filed these cases only after it became

clear that “[b]ankruptcy offers the only possibility of forestalling loss of the property.”

Little Creek, 779 F.2d at 1073. And now in chapter 11, the Debtors are admittedly “tak[ing]

advantage of the breathing spell afforded by the automatic stay,” Adversary Complaint ¶ 51, and

seeking to relitigate their New York law claims against the Lender Parties before this Court.

       48.     As the Fifth Circuit recognized in Little Creek, these facts demonstrate the Debtors’

bad faith and establish “cause” to dismiss these cases under section 1112(b). Other courts have

likewise dismissed chapter 11 cases as bad faith filings on very similar facts.10 For example,



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        Consistent with Little Creek, courts in non-foreclosure contexts have similarly recognized
that “filing in bad faith to secure a litigation advantage in another forum . . . necessitates a



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Chief Judge Bohm held in In re Triumph Christian Center, Inc., 493 B.R. 479 (Bankr. S.D. Tex.

2013), that a debtor’s second chapter 11 petition was a bad faith filing under Little Creek where

the debtor filed prepetition litigation in state court to stop its secured creditor from foreclosing. Id.

at 495. The “most important” factors supporting Judge Bohm’s conclusion that the debtor filed in

bad faith were that the dispute was “essentially a two-party dispute between the [d]ebtor and [the

secured creditor],” which held ninety-seven percent of the debtor’s total debt, and that the dispute

“was already in litigation in state court.” Id. at 495. Judge Bohm concluded that there was “no

good reason why the [d]ebtor should now be allowed to further forum shop” by filing bankruptcy

and “looking to this court for protection” when it had already chosen its forum in state court. Id.

        49.     In re Walter, 108 B.R. 244 (Bankr. C.D. Cal. 1989), is also especially on point here.

Following Little Creek, the Walter court dismissed a chapter 11 petition filed by debtors whose

secured creditor was attempting to foreclose on their sole asset, a parcel of real property. Id. at

247-48. “[A]fter opting to litigat[e] their dispute with [the secured creditor] in a state court forum

(and failing to obtain relief in that forum),” the debtors filed chapter 11 to “use [] the ‘automatic

stay’ of Title 11 as a replacement for the unavailable state court ‘preliminary injunction.’” Id. at




dismissal.” Investors Grp., LLC v. Pottorff, 518 B.R. 380, 384 (N.D. Tex. 2014) (internal citation
omitted); Antelope Techs., Inc. v. Lowe (In re Antelope Techs., Inc.), 431 F. App’x 272, 275 (5th
Cir. 2011) (affirming dismissal of chapter 11 case where the purpose of the petition was to gain an
unfair advantage in a shareholder derivative action); In re Nat’l Rifle Ass’n of Am., 628 B.R. 262,
264 (Bankr. N.D. Tex. 2021) (dismissing petitions where the debtor’s objective was to deprive the
New York Attorney General of the litigation remedy of dissolution); In re Kickapoo Kennels, LLC,
Case No. 12–39321-HE–11, 2013 WL 3148656, at *2 (S.D. Tex. Jun. 19, 2013) (dismissing case
where the debtor filed “in order to gain an unfair advantage in a two-party dispute” by delaying
implementation of court order while the debtor pursued an appeal); In re Sherwood Enters., Inc.,
112 B.R. 165, 168-69 (Bankr. S.D. Tex. 1989) (dismissing cases filed “to avoid the imposition and
effect of [a] state court judgment on the debtor entities” where the “primary motivation” was to
obtain “another chance at litigating the matters which were tried in the state court lawsuit”); In re
Davis, 93 B.R. 501, 504 (Bankr. S.D. Tex. 1987) (petition filed in lieu of a supersedeas bond was
a bad faith filing).


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248. The court concluded that the bankruptcy filing was “at bottom forum shopping, carried on

after [the debtor] sought but failed to obtain relief against their secured creditor from state court.”

Id. at 250. It therefore held that the petition was filed in bad faith.

        50.     The Debtors’ conduct here is strikingly similar to the bad faith filings in Triumph

and Walter. The Debtors (and their co-Plaintiffs) had already commenced litigation in state court

against their only significant secured creditors, the Lender Parties. And as in Walter, the Debtors

had already attempted to obtain relief from the state court, requesting a preliminary injunction on

two separate occasions, but failed to do so, including because the court held that the Debtors were

unlikely to succeed on the merits of their claims. See Burke Decl. Ex. 20 at 52:11-13 (New York

court was “not satisfied that [Debtors] have established a likelihood of success on the merits”).

Having failed to win in the New York Action, and with foreclosure looming, the Debtors decided

to switch litigation forums and are now using the automatic stay as a substitute for a preliminary

injunction that they failed to obtain.

        51.     Further, as in Triumph and Walter, these cases are a two-party dispute between the

Debtors and the Lender Parties. Indeed, the Lenders’ claims, which, after the sales of the Tellurian

Shares and the Tango, total not less than approximately $99 million, represent more than 99% of

the non-insider claims against AVR and 100% of the claims against Strudel. If the Debtors are

allowed to continue in this forum and fail to prove their claims against the Lender Parties, as the

New York state court has already said is likely, each of the Debtors will be left with no equity in

their only assets. And if the Debtors do somehow succeed in their claims against the Lender

Parties, the value of the Debtors’ assets would far exceed the value of their liabilities, meaning

there would be no need for these chapter 11 cases. Thus, the only issue that needs to be resolved

is the dispute between the parties over the validity of the Lender Parties’ claims, which the




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New York state court is already well situated to decide and which is in fact the agreed-upon forum

for resolution of such claims.

       52.       For this reason alone, the Court should dismiss these cases.

       B.        The Debtors Have No Going Concern to Protect, No Employees to Protect,
                 and No Hope of Rehabilitation and, Thus, No Good Faith Basis for Filing.

       53.       Even if the Debtors had not been so transparent in their bad faith intentions, other

Little Creek criteria still would support dismissal here:

                “The debtor has one asset” and “secured creditors’ liens encumber [that asset]”:

                 The Debtors’ own schedules confirm that each Debtor has only one material asset:

                 Strudel’s Ajax Interest, in the case of Strudel, and the Ranch, in the case of AVR.

                 Strudel’s Schedules at Schedule A/B No. 15; AVR’s Schedules at Schedule A/B

                 No. 55. There is no dispute that the Lender Parties’ liens and security interests

                 encumber those assets. See Burke Decl. Exs. 4-7.

                “[T]here are only a few, if any unsecured creditors whose claims are relatively

                 small”: According to the Debtors’ schedules, Strudel has zero unsecured creditors,

                 and AVR’s reported unsecured claims, excluding the dubious intercompany claims

                 of their insiders, total less than $1 million, the vast majority of which is owed to a

                 single creditor, the homeowner’s association to which the Ranch belongs. Strudel’s

                 Schedules at Schedules D & E/F; AVR’s Schedules at Schedules D & E/F.

                There are “no employees except for the principals, little or no cash flow, and no

                 available sources of income to sustain a plan of reorganization”: Although the

                 Debtors declined to file any declarations in support of these chapter 11 cases or any

                 standard first day relief, on information and belief, neither Strudel nor AVR has

                 any employees. Strudel’s SoFA shows that it has zero revenue, and AVR’s SoFA



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               reports approximately $700,000 of gross revenue in 2023—hardly an “ongoing

               business” around which it could reorganize. Strudel’s SOFA at No. 1; AVR’s

               SOFA at No. 1. Moreover, the Debtors commenced these cases with a combined

               total of less than $30,000 cash-on-hand, and neither has sought debtor-in-

               possession financing, leaving them with no discernible way to fund these chapter

               11 cases or their intended adversary proceeding, let alone a plan of reorganization.

               See AVR’s Schedules at No. 5; Strudel’s Schedules at No. 5.

       54.     In these circumstances, the law in the Fifth Circuit is clear: “[r]esort to the

protection of the bankruptcy laws is not proper” because “there is no going concern to preserve,

there are no employees to protect, and there is no hope of rehabilitation.” Little Creek, 779 F.2d

at 1073; In re Zamora-Quezada, 622 B.R. 865, 886 (Bankr. S.D. Tex. 2017) (finding no reasonable

likelihood of rehabilitation because the debtor had no business prospects and was merely being

wound down); see also In re C-TC 9th Ave. P’ship, 113 F.3d 1304, 1310 (2d Cir. 1997) (case filed

in bad faith when the debtor has “no reasonable probability of emerging from the bankruptcy

proceedings and no realistic chance of reorganizing”).

       55.     Indeed, it should not be lost on this Court that the Debtors have shown no interest

in reorganizing. The only substantive relief AVR has requested relates to a sale of the Ranch—

the outcome the Lender Parties were pursuing through the Colorado foreclosure process. Strudel,

for its part, has not taken any action in its case. And neither of the Debtors has filed a chapter 11

plan. As the Debtors candidly admitted, these cases serve only one goal: to frustrate the Lender

Parties’ efforts to exercise their bargained-for and statutory rights to foreclose on their collateral.

Adversary Complaint ¶ 51. The Court should dismiss both of these bad faith cases for cause.




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II.    AVR’S CHAPTER 11 CASE SHOULD BE DISMISSED BECAUSE ITS
       PETITION IS ULTRA VIRES

       56.     The Court should also dismiss AVR’s chapter 11 petition for a second, independent

reason: It is ultra vires. Souki, the individual who signed the resolutions authorizing AVR to file

its petition (Case No. 23-90758, ECF No. 1 at 11–13), lacked the requisite authority to do so.

       57.     Where a bankruptcy court “finds that those who purport to act on behalf of the

[debtor] have not been granted authority by local law to institute proceedings, it has no alternative

but to dismiss the petition.” Price v. Gurney, 324 U.S. 100, 106 (1945); see also In re Franchise

Servs. of N. Am., Inc., 891 F.3d 198, 207 (5th Cir. 2018) (state law determines who has the

authority to file a voluntary petition on behalf of a corporation).

       58.     Here, Souki is the sole member of AVR (AVR’s SoFA at No. 28), and he pledged

the “Capital Stock of AVR . . . owned by [Souki]” as part of the “Collateral” for his obligations

under the Loan Agreements (Pledge Agreements § 2).

       59.     The Pledge Agreements provide that “[u]pon the occurrence of an Event of Default

. . . all voting rights and powers and rights to distributions included in the Collateral . . . shall

thereupon become vested in the Administrative Agent, and the Administrative Agent shall

thereafter have the sole and exclusive right and authority to exercise such voting rights and

powers[.]” Pledge Agreements § 6(b).

       60.     As Souki and the Debtors have acknowledged, several events of default occurred

under the Loan Agreements, long before the Debtors filed their chapter 11 petitions. See Pledge

Agreements § 5.1 & sched. I.

       61.     Upon those events of default, the Pledge Agreements automatically divested Souki

of any power to act for AVR, including by executing resolutions on AVR’s behalf, and vested that

power in the Administrative Agent.



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         62.    Because the Administrative Agent did not authorize AVR’s chapter 11 filing,

Souki’s attempts to execute the resolutions attached to AVR’s chapter 11 petition were ineffective

and void ab initio.

         63.    In these circumstances, there is “no alternative but to dismiss” AVR’s petition.

Price, 324 U.S. at 106.

                                         CONCLUSION

         64.    For the foregoing reasons, the Lender Parties respectfully request that this Court

enter an order dismissing these chapter 11 cases.


Dated: August 24, 2023

Respectfully,

 ORRICK HERRINGTON &                                 ALSTON & BIRD LLP
 SUTCLIFFE LLP

 /s/ Darrell Cafasso                                 /s/ Sam Bragg
 Laura Metzger*                                      Sam Bragg
 Darrell Cafasso*                                    Texas Bar No. 24097413
 David Litterine-Kaufman*                            S.D. Tex. Bar. No. 3395594
 Nicholas Poli*                                      2200 Ross Avenue
 Mark Franke*                                        Dallas, Texas 75201
 Harry Murphy*                                       Telephone: (214) 922-3400
 51 West 52nd Street                                 Facsimile: (214) 922-3899
 New York, NY 10019                                  Email: Sam.Bragg@alston.com
 Telephone: (212) 506-5000
 E-mail: lmetzger@orrick.com                         -and-
         dcafasso@orrick.com
         dlitterinekaufman@orrick.com                William Hao*
         npoli@orrick.com                            90 Park Avenue
         mfranke@orrick.com                          New York, New York 10016
         hmurphy@orrick.com                          Telephone: (212) 210-9400
                                                     Facsimile: (212) 210-9444
 -and-                                               Email: William.Hao@alston.com

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Ryan Wooten                                       Chris Riley*
609 Main Street, 40th Floor                       1201 West Peachtree Street
Houston, TX 77002                                 Atlanta, GA 30309
Telephone: (713) 658-6617                         Telephone: (404) 881-7000
Email: rwooten@orrick.com                         Facsimile: (404) 881-7777
                                                  Email: Chris.Riley@alston.com
James W. Burke**
1152 15th Street, N.W.                            Attorneys for Wilmington Trust National
Washington, D.C. 20005                            Association
Telephone: (202) 339-8400
Email: jburke@orrick.com

Nick Sabatino**
400 Capital Mall, Suite 3000
Sacramento, CA 95814
Telephone: (916) 447-9200
Email: nsabatino@orrick.com                       *Admitted pro hac vice
                                                  **Pro hac vice application forthcoming
Counsel for Nineteen77 Capital Solutions A
LP and Bermudez Mutuari, Ltd.




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